Case 1:17-cv-00584-RP Document 115-3 Filed 11/30/17 Page 1 of 7




                    EXHIBIT C
        Case 1:17-cv-00584-RP Document 115-3 Filed 11/30/17 Page 2 of 7
                                                                               9/27/2017 3:28 PM
                                                                                                Velva L. Price
                                                                                               District Clerk
                                                                                               Travis County
                                  CAUSE NO. D-GN-16-006178                                  D-1-GN-16-006178
                                                                                                  Terri Juarez

JOHN R. KELLER MASONRY, INC.,                   §                IN THE DISTRICT COURT OF
     Plaintiff                                  §
                                                §
vs.                                             §
                                                §
WEIS BUILDERS, INC. and                         §
FEDERAL INSURANCE COMPANY,                      §                   TRAVIS COUNTY, TEXAS
Jointly and Severally,                          §
        Defendants / Third-Party Plaintiffs     §
                                                §
vs.                                             §
                                                §
2013 TRAVIS OAK CREEK, LP,                      §
2013 TRAVIS OAK CREEK, GP, LLC,                 §
2007 TRAVIS HEIGHTS, LP, and                    §
2007 TRAVIS HEIGHTS, GP, LLC,                   §
      Third-Party Defendants                    §                   250TH JUDICIAL DISTRICT

                         RESPONSE TO MOTION TO LIFT STAY

TO THE HONORABLE JUDGE:

       Third-Party Defendant 2013 Travis Oak Creek GP, LLC (“Respondent”) files this

Response to Defendant/Third-Party Plaintiff Weis Builders, Inc.’s (“Weis”) Motion to Lift Stay,

and respectfully show as follows:

       1.      On or about June 26, 2017, Third-Party Defendant 2013 Travis Oak Creek GP,

LLC (“Oak Creek GP”) filed an Emergency Motion to Abate or Stay, informing this Court of the

pendency of litigation between the partners of 2013 Travis Oak Creek, LP (the “Partnership”) in

the U.S. District Court for the Western District, about who is the rightful general partner of the

Partnership. This Court signed an agreed order dated July 14, 2017 staying this matter “until a

ruling is made in the U.S. Western District Court, Austin Division, Case No. 1:17-00584,

resolving the dispute over which entity – 2013 Travis Oak Creek GP, LLC or PNC Bank,

N.A./Columbia Housing SLP – is the rightful general partner of Defendant 2013 Travis Oak

Creek, L.P.” (emphasis added).

 
RESPONSE TO MOTION TO LIFT STAY                                                              Page 1
          Case 1:17-cv-00584-RP Document 115-3 Filed 11/30/17 Page 3 of 7



         2.    On September 12, 2017, Weis moved to lift the stay, arguing that Judge Pitman

has made a ruling that resolved the dispute over which entity is the rightful general partner of the

Partnership via an order dated June 19, 2017. Weis is mistaken, because the dispute over which

entity is the rightful general partner of the Partnership remains pending and unresolved in the

case in the United States District Court.

         3.    When a motion to stay is granted, the stay remains in effect and all action in the

cause is suspended until the cause of the abatement or stay is cured. See, e.g., Permanente

Medical Assoc. v. Johnson, 917 S.W.2d 515, 517 (Tex. App. – Waco 1996, orig. proceeding);

Texas Employers’ Insurance v. Baeza, 584 S.W.2d 317, 321 (Tex. App. – Amarillo 1979, no

writ).

         4.    As an initial matter, the order Weis relies upon in its motion to lift stay is dated

August 2, 2017, not “Jun 19, 2017” [sic] as reported by Weis in its motion. That order is

attached to Weis’ Motion to Lift Stay as Exhibit “A.” In that order, Judge Pitman granted a

motion for preliminary injunction finding Oak Creek GP was removed as the general partner of

the Partnership and enjoining action that interferes with Columbia Housing SLP Corporation’s

singular exercise of its role, authority, powers, control, rights, duties, obligations or privileges as

general partner of the Partnership. Order, p. 27.

         5.    But the Court did not resolve the dispute in the case regarding which entity is the

rightful general partner of 2013 Travis Oak Creek, LP., nor could it have done so via a

preliminary injunction order. An order of preliminary injunction is not a decision on the merits

of an underlying case, and its findings and conclusions are not binding at a trial on the merits.

University of Texas v. Camenisch, 415 U.S. 390, 395 (1981). Indeed, Judge Pitman confirmed

the following in his order:




 
RESPONSE TO MOTION TO LIFT STAY                                                                   Page 2
                 Case 1:17-cv-00584-RP Document 115-3 Filed 11/30/17 Page 4 of 7



                             a.             2013 Travis Oak Creek GP, LLC’s loss of control over 2013 Travis Oak
                                            Creek, LP is temporary during the pendency of the U.S. District Court
                                            litigation;1

                             b.             2013 Travis Oak Creek GP, LLC did not forfeit its general partner interest
                                            or any other interest as a consequence of the Court issuing a preliminary
                                            injunction;2 and,

                             c.             Both sides assert a present and ongoing right to control the Partnership
                                            such that the removal and its propriety remain subject to a final
                                            determination of the issue on the merits.3

              6.             As observed and confirmed by Judge Pitman in the above-referenced portions of

his August 2nd order, the dispute about who is the rightful general partner of the Partnership

remains the subject of pending claims in ongoing litigation in the U.S. District Court, and is

among the primary issues to be decided and resolved in that case. See, Order, p. 1 ([t]his

litigation concerns a dispute as to what entity is the rightful general partner of [the

Partnership]”).

              7.             At most, Oak Creek GP temporarily has been removed as the Partnership’s acting

general partner, without forfeiture of any rights or interests, and the question and dispute about

who is the rightful general partner will not be answered and resolved until the conclusion of the

federal court litigation. Accordingly, the cause for the stay in this case remains uncured, and the

stay should remain in effect until the question of who the rightful general partner of the

Partnership is, has been resolved by the Court before which the issue has been placed in

controversy, as a primary issue so its jurisdiction to resolve that dispute is not disturbed or

interfered with.

              8.             As noted in the agreed motion to abate or stay, a stay is needed in this case to

prevent the occurrence of any action in or in connection with this case that impacts or affects the
                                                            
1
  Order at p. 26.
2
  Order at p. 25.
3
  “[i]f, at the conclusion of this litigation the Court finds that an injunction was improvidently granted and that Oak
Creek was improperly removed as general partner, then its forfeited interests can be reinstated.” Order at pp. 24-25. 

 
RESPONSE TO MOTION TO LIFT STAY                                                                                  Page 3
         Case 1:17-cv-00584-RP Document 115-3 Filed 11/30/17 Page 5 of 7



Partnership or its claims and defenses or rights, or that will impair or interfere with Judge

Pitman’s jurisdiction over the question of who is authorized to represent or act for the

Partnership, for any purposes.

       9.      In this case, Weis has chosen to allege that both the Partnership and Oak Creek

GP are liable for the breach of contract, foreclosure of liens, Texas Prompt Pay Act and Texas

Constitution Trust Fund Act claims Weis asserts in this case against the Partnership, for the sole

reason that Oak Creek GP “is the general partner of [the Partnership] and therefore, is liable for

all claims against [the Partnership].” See, Weis’ First Amended Third Party Petition filed

February 24, 2017. Oak Creek GP’s status defense (i.e., whether it can be liable as a general

partner) in this case will be largely, if not entirely, dependent on the resolution of the disputes

before Judge Pitman about who is the Partnership’s rightful general partner.

       10.     Additionally, Oak Creek GP intends to assert substantive defenses to the claims

asserted against it and the Partnership, whether the Partnership does so or not. Ordinarily, Oak

Creek GP would be entitled to assert and prosecute all such defenses, without question about its

right or ability to do so, in order to protect or defend itself from liability. And, in this case, there

is a greater than usual need for Oak Creek GP to do so, given that the Partnership is now

represented by counsel who may not act to assert or prosecute those defenses on behalf of the

Partnership, for reasons that may be detrimental to Oak Creek GP. Oak Creek GP accordingly

finds itself in the untenable position of asserting defenses and taking defensive action that the

Partnership’s acting general partner may object to, and in turn claim constitutes interference with

Columbia Housing SLP Corporation’s temporary performance of its role, authority, powers,

control, rights, duties or obligations as the acting general partner of the Partnership. Oak Creek

GP cannot be placed in the position of having to choose between asserting its defenses, or acting




 
RESPONSE TO MOTION TO LIFT STAY                                                                    Page 4
         Case 1:17-cv-00584-RP Document 115-3 Filed 11/30/17 Page 6 of 7



in a manner that may be alleged to violate the preliminary injunction in the federal court

litigation.

        11.     In any event, if the stay is lifted, this Court necessarily will be called upon to

adjudicate facts or claims that will require some decision regarding who is the rightful general

partner, which will impair or interfere with the jurisdiction of the U.S. District Court to decide

those issues. And, lifting the stay may place Oak Creek GP in a position of being unable to

defend itself, without exposure to a claim it has violated the preliminary injunction in the U.S.

District Court case, or placing this Court in the position of having to evaluate the scope of that

preliminary injunction, which could again impair or interfere with the U.S. District Court’s

jurisdiction.

        WHEREFORE, PREMISES CONSIDERED, Respondent 2013 Travis Oak Creek GP,

LLC prays that this Court deny Defendant/Third-Party Plaintiff Weis Builders, Inc.’s Motion to

Lift Stay, granting such other and further relief, both in law and in equity, to which Respondent

may be justly entitled.

                                             Respectfully submitted,

                                             /s/ Kenneth B. Chaiken
                                             Kenneth B. Chaiken
                                             State Bar No. 04057800

                                             CHAIKEN & CHAIKEN, P.C.
                                             Legacy Town Center III
                                             5801 Tennyson Pkwy., Suite 440
                                             Plano, Texas 75024
                                             kchaiken@chaikenlaw.com
                                             Telephone:     (214) 265-0250
                                             Facsimile:     (214) 265-1537

                                             and




 
RESPONSE TO MOTION TO LIFT STAY                                                              Page 5
        Case 1:17-cv-00584-RP Document 115-3 Filed 11/30/17 Page 7 of 7



                                            Matthew J. Sullivan
                                            mjsullivan@dbcllp.com
                                            State Bar No. 19488325
                                            William H. Rhea
                                            brhea@dbcllp.com
                                            State Bar No. 16807100
                                            DUBOIS BRYANT & CAMPBELL, LLP
                                            303 Colorado Street, Suite 2300
                                            Austin, Texas 78701
                                            Telephone:     (512) 457-8000
                                            Facsimile:     (512) 457-8008

                                            ATTORNEYS FOR 2013 TRAVIS OAK
                                            CREEK, GP, LLC; 2007 TRAVIS HEIGHTS,
                                            LP; and 2007 TRAVIS HEIGHTS, GP, LLC


                                  CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Response to Motion to Lift Stay has been served on all
counsel of record via electronic service and/or electronic mail on this 27th day of September,
2017.


                                            /s/ Kenneth B. Chaiken
                                            Kenneth B. Chaiken




 
RESPONSE TO MOTION TO LIFT STAY                                                             Page 6
